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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                          Chapter 11
     In re:
                                                          Case No. 25-10068 (CTG)
     JOANN INC., et al., 1
                                                          (Jointly Administered)
                                   Debtors.


               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

               PLEASE TAKE NOTICE that, pursuant to sections 342 and 1109(b) of title 11 of the

    United States Code (as amended and applicable to the above-captioned bankruptcy cases, the

    “Bankruptcy Code”), 11 U.S.C §§ 101-1532, Rules 2002, 3017, 9007 and 9010 of the Federal

    Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2002-1 of the Local Rules of

    Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

    Delaware, Benesch, Friedlander, Coplan & Aronoff LLP (“Benesch”) hereby appears as counsel

    to Seasons Special Co., Ltd. (“Seasons”) in the above-captioned bankruptcy cases (the

    “Bankruptcy Cases”).



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      An order has been entered in accordance with Rule 1015(b) of the Federal Rules of Bankruptcy
      Procedure and Rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the
      United States Bankruptcy Court for the District of Delaware directing joint administration of
      the chapter 11 cases of: JOANN Inc., Case No. 25-10068 (CTG); JOANN Holdings 1, LLC,
      Case No. 25-10069 (CTG); JOANN Holdings 2, LLC, Case No. 25-10070 (CTG); Needle
      Holdings LLC, Case No. 25-10071 (CTG); Jo-Ann Stores, LLC, Case No. 25-10072 (CTG);
      Creative Tech Solutions LLC, Case No. 25-10073 (CTG); Creativebug, LLC, Case No. 25-
      10074 (CTG); WeaveUp, Inc., Case No. 25-10075 (CTG); JAS Aviation, LLC, Case No. 25-
      10076 (CTG); joann.com, LLC, Case No. 25-10077 (CTG); JOANN Ditto Holdings Inc., Case
      No. 25-10078 (CTG); Jo-Ann Stores Support Center, Inc., Case No. 25-10079 (CTG); and
      Dittopatterns, LLC, Case No. 25-10080 (CTG). The docket in Case No. 25-10068 (CTG) should
      be consulted for all matters affecting this case. All further pleadings and other papers shall be
      filed in and all further docket entries shall be made in the docket of JOANN Inc., Case No. 25-
      10068 (CTG).




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       PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rules 2002, 3017, and

9007, the undersigned requests that copies of all notices, pleadings, and all other papers required

to be served in the Bankruptcy Cases be served upon the following persons, and that such persons

be added to the mailing matrix in the Bankruptcy Cases:

       Kevin M. Capuzzi
       John C. Gentile
       Steven L. Walsh
       BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
       1313 North Market Street, Suite 1201
       Wilmington, Delaware 19801
       Telephone: (302) 442-7010
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       Email: kcapuzzi@beneschlaw.com
               jgentile@beneschlaw.com
               swalsh@beneschlaw.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Code sections 342 and

1109(b), the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules set forth above, but also includes, without limitation, any orders and notices of

any notices, application, complaint, demand, motion, petition, pleading, disclosure statement or

plan of reorganization, or request, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, overnight, or hand delivery, telephone, telegraph, telex, or

otherwise filed or made with regard to the Bankruptcy Cases and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any subsequent

appearance, pleading, filing, claim, or suit is not intended nor shall be deemed to waive the rights

of Seasons to: (1) have an Article III judge adjudicate in the first instance any case, proceeding,

matter, or controversy as to which a bankruptcy judge may not enter a final order or judgment

consistent with Article III of the United States Constitution; (2) have final orders in a non-core

case, proceeding, matter, or controversy entered only after an opportunity to object to proposed




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findings of fact and conclusions of law and a de novo review by a district court judge; (3) trial by

jury in any case, proceeding, matter, or controversy so triable; (4) have the reference withdrawn

by the United States District Court in any case, proceeding, matter, or controversy subject to

mandatory or discretionary withdrawal; (5) maintain any objection to the jurisdiction and/or venue

of the Bankruptcy Court or any other court for any purpose; or (6) assert any other rights, claims,

actions, defenses, setoffs, or recoupments to which Seasons is or may be entitled under agreements,

in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments

expressly are hereby reserved.



 Dated: February 19, 2025                            BENESCH, FRIEDLANDER,
        Wilmington, Delaware                           COPLAN & ARONOFF LLP

                                                      /s/ Kevin M. Capuzzi
                                                     Kevin M. Capuzzi (DE 5462)
                                                     John C. Gentile (DE 6159)
                                                     Steven L. Walsh (DE 6499)
                                                     1313 North Market Street, Suite 1201
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                                                     Counsel to Seasons Special Co., Ltd.




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                              CERTIFICATE OF SERVICE

       I, Kevin M. Capuzzi, hereby certify that on February 19, 2025, a true and correct copy

of the foregoing Notice of Appearance was served to all parties of record via CM/ECF.

                                                      /s/ Kevin M. Capuzzi
                                                    Kevin M. Capuzzi (DE 5462)
